        Case 1:19-cv-00150-DLF Document 236 Filed 11/14/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 BROIDY CAPITAL MANAGEMENT,
 LLC, et al.,

               Plaintiffs,
                                                      No. 19-cv-150 (DLF)
        v.

 NICOLAS D. MUZIN, et al.,

                Defendants.


                                           ORDER

       For the reasons set forth in the accompanying Memorandum Opinion, it is

       ORDERED that non-party ArentFox Schiff LLP’s Motion for a Protective Order and

Sanctions, Dkt. 226, is DENIED. It is further

       ORDERED that the plaintiffs’ cross-motion for sanctions, Dkt. 231 at 7, is DENIED.

       SO ORDERED.




                                                         __________________________
                                                         DABNEY L. FRIEDRICH
November 14, 2023                                        United States District Judge
